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       In the United States Court of Federal Claims
                                        No. 06-439C

                                (Filed: December 22, 2006)



********************* )
                      )                             Takings Clause; Commerce Clause;
JOYCE EVANS, et al.,  )                             Agricultural Marketing Agreement Act
                      )                             of 1937; motion to dismiss for failure
    Plaintiffs,       )                             to state a claim; RCFC 12(b)(6)
                      )
v.                    )
                      )
UNITED STATES,        )
                      )
           Defendant. )
                      )
                      )
*********************

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the briefs was Michael C. Stumo, DominaLaw Group, PC, LLO, Omaha, Nebraska. Of counsel
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                                   OPINION AND ORDER
LETTOW, Judge.

      Plaintiffs are raisin growers in California who claim that the United States, in its
implementation of the Agricultural Marketing Agreement Act of 1937 (“Agricultural Marketing
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Act”), Pub. L. No. 75-137, 50 Stat. 246 (codified as amended at 7 U.S.C. §§ 601-74), by
promulgating the currently effective raisin marketing order under the statute, has taken their
property without just compensation in contravention of the Fifth Amendment of the United
States Constitution. The Agricultural Marketing Act authorizes the Secretary of Agriculture (the
“Secretary”) to issue marketing orders for various agricultural products, including raisins, in an
effort to limit the supply of such products on the open market and thus to stabilize prices. The
raisin marketing order does not explicitly regulate raisin producers (i.e., growers), but it imposes
draconian regulations on handlers – those who stem, sort, clean, seed, package, or process raisins
– by requiring them to transfer to the government’s Raisin Administrative Committee (“RAC”)
an annually specified portion of the raisins they buy from producers. Specifically, handlers must
physically separate these “reserve tonnage” raisins for the government from the remaining “free
tonnage” raisins, which handlers may sell on the open market. The marketing order in effect
causes handlers to purchase from producers only the “free tonnage” raisins, with producers
receiving an equity interest in the “reserve tonnage” raisins in the government’s hands. The RAC
may sell or dispose of “reserve tonnage” raisins in secondary, non-competitive markets, and must
pay over to the equity-interest holders any net proceeds remaining after it has completed its
operations for any given crop year.

        Plaintiffs filed their complaint on June 1, 2006, alleging that the Agricultural Marketing
Act and regulations promulgated under that Act, including the currently effective raisin
marketing order, result in an uncompensated taking of the “reserve tonnage” portion of the
raisins they transfer to handlers. Compl. ¶¶ 46-47, 2, 27. In further support of their claim,
plaintiffs assert that their equity return on the net proceeds from the sale of these “reserve
tonnage” raisins has been worthless or nearly so in recent years. Id. ¶ 45. Plaintiffs seek
certification as a class, a declaration that the statutory and regulatory bases for the marketing
order violate the Fifth Amendment, an injunction to prevent the United States Department of
Agriculture (“USDA”) from enforcing the raisin marketing order, and damages. Id. ¶¶ 15-20, 51.

        The government has filed a motion to dismiss for failure to state a claim upon which
relief can be granted under Rule 12(b)(6) of the Rules of the Court of Federal Claims (“RCFC”),
contending that plaintiffs have not presented a cognizable takings claim. Def.’s Mot. to Dismiss
at 4. Plaintiffs have responded by arguing that the government has mischaracterized their claim
as a regulatory taking, rather than a per se physical taking, and that the federal government’s
authority under the Commerce Clause to regulate interstate commerce does not trump the
Takings Clause of the Fifth Amendment. Pl.’s Brief Opposing Def.’s Mot. to Dismiss ¶¶ 1, 14,
29. The Pacific Legal Foundation has filed a brief as amicus curiae in support of plaintiffs,
averring that the raisin marketing order confers no benefit on plaintiffs and imposes an
involuntary transfer of a portion of plaintiff’s raisins to the government. Briefing has been
completed and the court has held a hearing on the pending motions. For the reasons set out
below, the government’s motion to dismiss is granted.




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                                        BACKGROUND1

         In the midst of the Great Depression, Congress passed the Agricultural Marketing Act,
which sought to address “the disruption of the orderly exchange of commodities in interstate
commerce [that] impair[ed] the purchasing power of farmers and destroy[ed] the value of
agricultural assets.” Agricultural Marketing Act, 50 Stat. at 246. The Act authorizes the
Secretary to promulgate marketing orders for raisins, among other agricultural commodities,
restricting the amount of raisins from a given crop year that raisin handlers in California may sell
on the open market. See 7 U.S.C. § 608c(1), (2), (6)(C); see also 7 C.F.R. §§ 989.4, 989.65,
989.66(a)-(b)(1), 989.257 (2006).2

       Under the Agricultural Marketing Act, the Secretary may delegate to industry committees
the power to administer marketing orders, and these committees may recommend to the Secretary
changes to existing orders. 7 U.S.C. § 608c(7)(C); see 7 C.F.R. § 989.35 (2006).3 The raisin
marketing order, originally issued in 1949, Handling of Raisins Produced from Raisin Variety
Grapes Grown in California, 14 Fed. Reg. 5136 (Aug. 18, 1949) (codified, as amended, at 7
C.F.R. Part 989), created the RAC, a raisin industry group currently composed of forty-seven
members, including thirty-five who represent producers, ten who represent handlers, one who
represents a cooperative bargaining association, and one who represents the public. See
California Raisin Marketing Order, 71 Fed. Reg. 4805, 4805-06 (Jan. 30, 2006). The RAC is an
agent of the federal government, see Lion Raisins, Inc., v. United States, 416 F.3d 1356, 1368
(Fed. Cir. 2005) (“Lion Raisins III”), whose members are nominated by industry groups and
appointed by the Secretary. 7 C.F.R. §§ 989.26, 989.29, 989.30. The RAC receives no federal
appropriations, but is funded by assessments levied on handlers and proceeds from the sales of
“reserve tonnage” raisins withheld from the open market. See 7 C.F.R. §§ 989.53, 989.79,
989.80(a), 989.82.




       1
         The recitations that follow do not constitute findings of fact by the court. Rather, the
recited factual elements are taken from the parties’ pleadings and other filings and are either
undisputed or are alleged and assumed to be true for purposes of the pending motion.
       2
          Section 8c of the Agricultural Marketing Act, 7 U.S.C. § 608c, the key statutory
provision dealing with the marketing orders, originated in a 1935 amendment to the Agricultural
Adjustment Act of 1933, Pub. L. No. 73-10, 48 Stat. 31. See Act of Aug. 24, 1935, Pub. L. No.
74-320, § 5, 49 Stat. 750, 753-61. The Agricultural Marketing Act reenacted much of the
Agricultural Adjustment Act, including Section 8c. See Agricultural Marketing Act, § 1(e), 50
Stat. at 246.
       3
        References to the raisin marketing order and to other USDA regulations are to those
revised as of January 1, 2006, unless otherwise noted.

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        By February 15 of each crop year,4 the RAC must recommend to the Secretary the portion
of the raisin crop that should be made available for sale without restrictions (“free tonnage”
raisins) and the portion that should be withheld from the market (“reserve tonnage” raisins). See
7 C.F.R. §§ 989.54(d), 989.65. Based on the RAC’s recommendations and after obtaining the
approval of two-thirds of the raisin producers5 or of producers of two-thirds of the raisins
“produced for market,” the Secretary promulgates a regulation fixing the percentages of “reserve
tonnage” and “free tonnage” raisins. 7 U.S.C. § 608c(8)(A)-(B), (9)(B)(i)-(ii); 7 C.F.R.
§§ 989.55, 989.65.

        Using a reserve pool mechanism, the raisin marketing order requires handlers6 to separate
the raisins they purchase from producers (i.e., raisin growers) into two discrete sets of bins: one
for “free tonnage” raisins and the other for “reserve tonnage” raisins. 7 C.F.R. §§ 989.54,
989.55, 989.65, 989.66(b)(2). Upon delivery to a handler, title to the “free tonnage” raisins
passes to the handler, but title to the “reserve tonnage” portion of a producer’s raisins
automatically transfers to the RAC for sale in secondary, non-competitive markets. See 7 C.F.R.
§§ 989.65, 989.66(a), (b)(1), (4) (“reserve tonnage” raisins acquired by a handler “shall be held
by him for the account of the [RAC]”).7 Producers are entitled by regulation to an equitable
distribution of the net proceeds from the RAC’s disposition of the “reserve tonnage” raisins. See


       4
        The raisin crop year runs from August 1 of a given year until July 31 of the next year.
See 7 C.F.R. § 989.21.
       5
        A producer is “any person engaged in a proprietary capacity in the production of grapes
which are sun-dried or dehydrated by artificial means until they become raisins.” 7 C.F.R.
§ 989.11.
       6
         A handler is “(a) [a]ny processor or packer; (b) any person who places, ships, or
continues natural condition raisins in the current of commerce from within the area to any point
outside thereof; (c) any person who delivers off-grade raisins, other failing raisins or raisin
residual material to other than a packer or other than into any eligible non-normal outlet; or (d)
any person who blends raisins [subject to certain exceptions].” 7 C.F.R. § 989.15. A processor
is any person who receives raisins and uses them in California to make a product other than
raisins for marketing or distribution. 7 C.F.R. § 989.13. A packer is “any person who, [in
California], stems, sorts, cleans, or seeds raisins, grades stemmed raisins, or packages raisins for
market as raisins,” but does not include a producer who sorts and cleans unstemmed raisins. 7
C.F.R. § 989.14.
       7
         The RAC may dispose of “reserve tonnage” raisins in non-competitive markets by sale to
handlers serving specified outlets or for resale to exporters for sales abroad, by direct sale to the
United States or foreign governments, by gift, or by any other means consistent with 7 U.S.C.
§ 608c. 7 C.F.R. § 989.67(b). Plaintiffs allege that proceeds from “reserve tonnage” raisins are
used to subsidize raisin packers’ exports and school lunch programs, as well as to fund more than
half of the RAC’s budget. Compl. ¶¶ 37, 44.

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7 C.F.R. §§ 989.66(h); see also Raisin Administrative Committee, Analysis Report 10 (2001),
available at http://www.raisins.org (“Funds generated from reserve pool sales programs, net of
costs, become the growers’ equity.”). The RAC usually needs several years to dispose of the
“reserve tonnage” raisins for a given year. See California Raisin Marketing Order, 71 Fed. Reg.
at 4806. As a result of these restrictions, handlers pay producers for the “free tonnage” portion of
the raisins, but not for the “reserve tonnage” raisins. Compl. ¶ 27; Lion Raisins III, 416 F.3d at
1360.8

         The Agricultural Marketing Act explicitly excludes raisin producers from regulation, 7
U.S.C. § 608c(13)(B), but the expansive regulatory definition of a handler, see supra at 4 n.6,
captures within its scope any producer who seeds, grades, packages, or stems raisins or places
raisins into interstate commerce. See 7 C.F.R. §§ 989.14, 989.15. The government may seek
injunctive relief, as well as civil and criminal penalties, against handlers who violate the raisin
marketing order. See 7 U.S.C. §§ 608a(5), 608a(6), 608c(14); see also In re Saulsbury Enters.,
Inc., 55 Agric. Dec. 6, 7, 17 (May 7, 1996) (holding that a raisin producer who shipped largely
uncleaned raisins to Canada was a handler subject to civil penalties for violating a raisin
marketing order); 7 C.F.R. § 989.166(c) (providing that a handler who refuses to turn over his
“reserve tonnage” raisins to the RAC shall compensate the RAC according to the market price
for such raisins).

        The raisin marketing order shares many of the characteristics of marketing orders for
other agricultural products. Compare 7 C.F.R. Part 989 (Raisin Marketing Order), with 7 C.F.R
Parts 930 (Tart Cherry Marketing Order), 981 (Almond Marketing Order), 984 (Walnut
Marketing Order), 985 (Spearmint Oil Marketing Order), 993 (Prune Marketing Order).9 Like
other such orders, the raisin marketing order grants to the industry committee, the RAC, the
power to sell or dispose of all of the reserves, compare 7 C.F.R. § 989.67(a) (raisins), with 7
C.F.R. §§ 981.66(a) (almonds), 984.56 (walnuts), 993.65(a) (prunes), and also gives either
handlers or producers a proportional interest in the net proceeds from any reserve sales.
Compare 7 C.F.R. § 989.65(e) (raisins), with 7 C.F.R. §§ 981.66(e) (almonds), 984.56(e)
(walnuts), 993.65(e) (prunes). Nonetheless, the raisin marketing order stands out from most of
its counterparts in two respects: it effects a direct transfer of title of a producer’s “reserve
tonnage” raisins to the government, and it requires physical segregation of the reserve-tonnage
raisins held for the government’s account. 7 C.F.R. §§ 989.54, 989.55, 989.65, 989.66(b)(2).


       8
        The price handlers pay producers for “free tonnage” raisins is negotiated privately by
handlers’ and packers’ bargaining associations. See Lion Raisins III, 416 F.3d at 1360; Compl.
¶ 24 & n.4.
       9
         Pursuant to 7 C.F.R. § 993.90(a), the handling requirements for the marketing order for
prunes were suspended indefinitely by the Secretary in August 2005. See Dried Prunes Produced
in California; Suspension of Handling and Reporting Requirements, 70 Fed. Reg. 50,153 (Aug.
26, 2005); see also Dried Prunes Produced in California; Suspension of Handling and Reporting
Requirements, 70 Fed. Reg. 30,610 (May 27, 2005).

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         Marketing orders for agricultural products have been controversial, and considerable
litigation has recently arisen about them. Recently, the raisin marketing orders have been a focal
point for such litigation. In 2005, the Federal Circuit decided Lion Raisins III, 416 F.3d 1356, a
consolidated appeal of two cases in which Lion Raisins, Inc. (“Lion”), a raisin producer and
handler, mounted Fifth Amendment takings challenges that were related to those in this case, but
that relied on different substantive allegations. In Lion Raisins, Inc. v. United States, 58 Fed. Cl.
391 (2003) (“Lion Raisins I”), Lion, in its capacity as a producer, alleged that the RAC’s use of
proceeds from 1997 “reserve tonnage” raisins to finance export programs during the 1998 and
1999 crop years constituted a taking entitling it to just compensation. Lion Raisins III, 416 F.3d
at 1361. Lion claimed that the RAC had violated the Agricultural Marketing Act and the
pertinent raisin marketing order by not transferring to Lion its equitable share in the 1997 reserve
pool. Id. at 1369. The Federal Circuit affirmed dismissal of Lion’s suit on the ground that “a
claim premised on a regulatory violation does not state a claim for a taking” in the Court of
Federal Claims. Id.; see also Rith Energy, Inc. v. United States, 247 F.3d 1355, 1366 (Fed. Cir.
2001) (noting that a takings claim premised on an alleged statutory or regulatory violation does
not state a claim cognizable in the Court of Federal Claims under the Tucker Act because suits
for just compensation in the Court must rest on a taking for public use, the legality of which is
not challenged). In commenting on an additional claim made by Lion that a change in the reserve
pool benefits constituted a physical taking of the plaintiff’s raisins, the Federal Circuit remarked
that “once the raisins were transferred to the RAC, Lion no longer had a property interest in the
raisins themselves, but only in its share of the reserve pool proceeds as defined by the
regulations.” Lion Raisins III, 416 F.3d at 1369 n.9 (citing 7 C.F.R. § 989.66(h)).

        In the companion case, Lion Raisins, Inc. v. United States, 57 Fed. Cl. 435 (2003) (“Lion
Raisins II”), Lion, in its capacity as a handler, pressed a Fifth Amendment takings claim by
alleging that the RAC had not returned raisin bins in which Lion had transferred reserve raisins
to the RAC. Lion Raisins III, 416 F.3d at 1361, 1370. Lion sought compensation for the bins
and for a rental fee for the RAC’s use of the bins. Id. at 1361. The Federal Circuit affirmed the
dismissal of this suit as well, stressing that 7 U.S.C. § 608c(15) provides an administrative
remedy for any handler who alleges that “any [] order or any provision of any such order or any
obligation imposed in connection therewith is not in accordance with law.” Id. at 1370. Noting
that the Supreme Court described 7 U.S.C. § 608c(15) as providing an explicit remedy to an
aggrieved handler, id. at 1371 (citing United States v. Ruzicka, 329 U.S. 287, 292 (1946)), the
court stated: “We have repeatedly held that Tucker Act review of takings claims is precluded
where Congress has provided ‘a specific and comprehensive scheme for administrative and
judicial review.’” Id. at 1372 (quoting Vereda, Ltda. v. United States, 271 F.3d 1367, 1375 (Fed.
Cir. 2001) (in turn quoting St. Vincent's Med. Ctr. v. United States, 32 F.3d 548, 550 (Fed. Cir.
1994))).10


       10
         To the same effect, the D.C. Circuit recently ruled in Edaleen Dairy, LLC v. Johanns,
467 F.3d 778 (D.C. Cir. 2006), that a producer-handler who wishes to challenge a new rule that
eliminated an exemption for large producer-handlers and required them to pay into a producer
settlement fund, was required first to exhaust administrative remedies by petitioning the

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                                 STANDARD FOR DECISION

        “Dismissal of a complaint under RCFC 12(b)(6) is appropriate when the plaintiff can
prove no set of facts that would warrant the requested relief, when drawing all well-pleaded
factual inferences in favor of the complainant.” Levine v. United States, 453 F.3d 1348, 1350
(Fed. Cir. 2006) (citing Leider v. United States, 301 F.3d 1290, 1295 (Fed. Cir. 2002)).11 In
ruling on a motion under RCFC 12(b)(6), the court must decide “not whether a plaintiff will
ultimately prevail but whether the claimant is entitled to offer evidence to support the claims.”
Swierkiewicz v. Sorema N.A., 534 U.S. 506, 511 (2002) (quoting Scheuer v. Rhodes, 416 U.S.
232, 236 (1974)). A motion to dismiss should not be granted unless “it appears beyond doubt
that the plaintiff can prove no set of facts in support of his claim which would entitle him to
relief.” Conley v. Gibson, 355 U.S. 41, 45-46 (1957).

                                            ANALYSIS

               A. The Federal Government’s Power to Regulate Interstate Commerce

        Plaintiffs’ takings claims are intertwined with the question of what power the federal
government possesses to regulate the raisin industry. Pls.’ Sur-Reply Br. Opposing Def.’s Mot.
to Dismiss ¶ 5. Plaintiffs claim that they have only three options for disposing of their raisins:
(1) preparing the raisins for sale to the public, thereby subjecting themselves to the marketing
order as handlers; (2) selling the raisins to handlers, again subjecting themselves to the marketing
order; or (3) consuming all of the raisins on their farms. Id. For all practical purposes, plaintiffs
claim, they cannot sell raisins without the government gaining title to and control over a fixed
portion as “reserve tonnage” raisins. See id.; Compl. ¶¶ 46-47.

         Under the Commerce Clause of the Constitution, Congress may regulate the channels of
interstate commerce, the instrumentalities of interstate commerce, and persons or things in
interstate commerce, including activities that “substantially affect” interstate commerce. Perez v.
United States, 402 U.S. 146, 150, 152 (1971). Included in the last category are “purely local
activities that are part of an economic ‘class of activities’ that have a substantial effect on
interstate commerce.” Gonzales v. Raich, 545 U.S. 1, 17 (2005).


Secretary of Agriculture for relief.
       11
          Under the Tucker Act, 28 U.S.C. § 1491(a), this court possesses subject matter
jurisdiction of a takings claim against the United States. See Preseault v. Interstate Commerce
Comm’n, 494 U.S. 1, 12 (1990). In pertinent part, the Tucker Act provides that “[t]he United
States Court of Federal Claims shall have jurisdiction to render judgment upon any claim against
the United States founded . . . upon the Constitution.” 28 U.S.C. § 1491(a). The RAC is an
agent of the United States, and the United States may be sued in this court for any takings
without just compensation allegedly committed by the RAC. See Lion Raisins III, 416 F.3d at
1368.

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        Illustrative of Congress’s power to regulate intrastate activity – and in particular intrastate
agricultural activity – is the Depression-era decision in Wickard v. Fillburn, 317 U.S. 111 (1942).
In Fillburn, at issue were regulations promulgated under amendments to the Agricultural
Adjustment Act of 1938, Pub. L. No. 75-430, 52 Stat. 31. The regulations, which were designed
to control the volume of wheat in interstate and foreign commerce and thereby stabilize prices,
established a wheat acreage allotment for an Ohio farmer named Roscoe Fillburn of 11.1 acres
and a yield of 20.1 bushels per acre. Fillburn, 317 U.S. at 114-15. Mr. Fillburn sowed 23 acres
and in due course harvested 239 bushels of wheat from the 11.9 acres that exceeded his
designated allotment. Id. at 114. In a suit filed in federal district court, Mr. Fillburn contended
that the imposed quotas were unconstitutional under the Commerce Clause because the excess
wheat he sowed and harvested was intended solely for consumption on his farm and had at most
an indirect effect on interstate commerce. Id. at 118-19. After Mr. Fillburn prevailed in a three-
judge district court proceeding, the Supreme Court reversed. In sweeping language, the Supreme
Court firmly rejected Fillburn’s argument:

        But even if [Fillburn’s] activity be local and though it may not be regarded as
        commerce, it may still, whatever its nature, be reached by Congress if it exerts a
        substantial economic effect on interstate commerce and this irrespective of
        whether such effect is what might at some earlier time have been defined as
        ‘direct’ or ‘indirect.’

Id. at 125.

         Fillburn had been partially foreshadowed by the Supreme Court’s decision in United
States v. Rock Royal Co-Op., Inc., 307 U.S. 533, 569 (1939), which specifically upheld the
constitutionality of the Agricultural Marketing Act under the Commerce Clause.12 The far-
reaching scope of Fillburn has remained intact to this day, having been recently reaffirmed in
2005 by the Supreme Court in Raich. See Raich, 545 U.S. at 17-18; id. at 37 & n.2 (Scalia, J.,
concurring in the judgment) (“The regulation of an intrastate activity may be essential to a
comprehensive regulation of interstate commerce even though the intrastate activity does not
itself ‘substantially affect’ interstate commerce.”).



        12
          In Rock-Royal, the operation of the Agricultural Marketing Act was upheld in the
context of a milk marketing order, in the face of Fifth Amendment due process and takings
contentions advanced as defenses to an enforcement action. See Rock-Royal, 307 U.S. 533. One
of the primary defenses in Rock-Royal was that an equalization pool established by the milk
marketing order at issue, intended to provide a relatively uniform or weighted-average price for
milk of similar quality, deprived milk producers of their liberty and property. Id. at 571-72. That
broad contention was rejected on the basis of Congress’s power under the Commerce Clause:
“As the Congress would have, clearly, the right to permit only limited amounts of milk to move
in interstate commerce, we are of the opinion it might permit the movement on terms of pool
settlement here provided.” Id. at 572.

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        Congress’s power to regulate the raisin industry in the manner prescribed by the
Agricultural Marketing Act is governed by Fillburn. Nonetheless, Congress’s power to act under
the Commerce Clause does not immunize the federal government from a takings claim under the
Fifth Amendment. The Commerce Clause, just as the War Power, may well provide the
underpinnings for a taking, but the Supreme Court has explicitly stated that there is no “blanket
exception to the Takings Clause whenever Congress exercises its Commerce Clause authority.”
Kaiser Aetna v. United States, 444 U.S. 164, 172 (1979); see also United States v. Pewee Coal
Co., 341 U.S. 114, 115-116 (1951) (taking occurred when the government took control of a coal
mine during wartime, to assure continued production in the face of a threatened strike). In this
same vein, the Federal Circuit has concluded that “the Government's proper exercise of
regulatory authority does not automatically preclude a finding that such action is a compensable
taking.” Yancey v. United States, 915 F.2d 1534, 1540 (Fed. Cir. 1990). In short, the Commerce
Clause may provide the authority for a taking, but it does not negate the Fifth Amendment’s
command that the government, having taken a person’s property, must pay just compensation.
See id; Kaiser Aetna, 444 U.S. at 174.

              B. The Scope of the Raisin Marketing Order and Other Such Orders

        The scope of the raisin marketing order is remarkable, but in many ways is typical of
other marketing orders. Marketing orders for other agricultural products also employ a variation
of the reserve pool mechanism used in the raisin marketing order. See, e.g., 7 C.F.R §§ 930.55-
.57 (tart cherries), 981.50-.58 (almonds), 984.54-.56 (walnuts), 985.57 (spearmint oil), 993.56-
.65 (prunes). Some marketing orders simply require the handler to hold the reserve portion in his
or her possession, see, e.g., 7 C.F.R. § 984.54(b) (requiring a walnut handler to hold reserve
walnuts “in his possession or under his control”), while one requires an industry committee,
under certain circumstances, to hold the reserves on behalf of individual producers. 7 C.F.R.
§ 985.57(a) (“The Committee shall store reserve [spearmint] oil for the account of the
producer.”). Most marketing orders give the industry committee that is acting as the
government’s agent a plenary power to sell or dispose of the reserves, see 7 C.F.R. §§ 981.66(a)
(almonds), 984.56(a) (walnuts), 989.67(a) (raisins), 993.65(a) (prunes), but such orders also give
either handlers or producers a proportional interest in the net proceeds from any reserve sales. 7
C.F.R. §§ 981.66(e) (almonds), 984.56(e) (walnuts), 989.66(h) (raisins), 993.65(e) (prunes).

        In addition to the raisin marketing order, two other marketing orders as a practical matter
effect a shift in beneficial ownership somewhat akin to the direct transfer of title of which
plaintiffs in this case complain. An almond handler must “at all times, hold in his possession or
under his control, in proper storage for the account of the Board, the quantity of almonds
necessary to meet his reserve obligation.” 7 C.F.R. § 981.52 (emphasis added). Nonetheless,
handlers do have the option of selling their reserve almonds in non-competitive markets, subject
to conditions set by the Board. 7 C.F.R. § 981.67; see also Cal-Almond, Inc. v. United States, 30
Fed. Cl. 244, 245 (1994), aff’d, 73 F.3d 381 (Fed. Cir. 1995) (Table, text in Westlaw).
Moreover, almond growers may sell their almonds at a roadside stand free of the marketing



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order’s regulation of handlers. See 7 C.F.R. § 981.13 (excluding from the definition of handlers
any producer who makes such roadside sales).

         Under the marketing order for prunes, handlers are required “at all times, [to] hold, in
[their] possession or under [their] control, in proper storage for the account of the committee, free
and clear of all liens, the quantity of prunes necessary to meet [their] reserve obligation.” 7
C.F.R. § 993.57 (emphasis added). Nonetheless, prune handlers are not required to effect a
physical separation of reserve prunes from “salable” prunes. 7 C.F.R. §§ 993.57, 993.54; see
Prune Bargaining Assoc. v. Butz, 444 F.Supp. 785, 788-89 (N.D. Cal. 1975) (“These reserve
prunes are not physically segregated from the salable prunes, however, and thus the reserve is, in
fact, a paper reserve.”).13

        The raisin marketing order, although similar to the almond and prune marketing orders,
appears to be stricter. Not only does title to a producer’s “reserve tonnage” raisins pass
immediately to the government upon sale to a handler, but the handler must physically segregate
those raisins for the RAC’s account. 7 C.F.R. §§ 989.54, 989.65, 989.66(b)(2).

                                    C. Plaintiffs’ Takings Claim

                              1. Fifth Amendment takings principles.

         The Takings Clause of the Fifth Amendment provides that “private property [shall not] be
taken for public use, without just compensation.” The Takings Clause “was designed to bar
Government from forcing some people alone to bear public burdens which, in all fairness and
justice, should be borne by the public as a whole.” Armstrong v. United States, 364 U.S. 40, 49
(1960). In this context, “[t]he Constitution neither creates nor defines the scope of property
interests compensable under the Fifth Amendment.” Maritrans v. United States, 342 F.3d 1344,
1352 (Fed. Cir. 2003) (citing Bd. of Regents of State Colleges v. Roth, 408 U.S. 564, 577 (1972)).
Rather, “existing rules or understandings” and “background principles” derived from


       13
         Based solely on the regulatory language, the marketing orders for almonds, walnuts, and
prunes explicitly include within the definition of a handler intrastate attempts by producers to
market their crops. See 7 C.F.R. §§ 981.11, 981.13, 981.16 (handler includes any person who
“put[s] almonds . . . into any channel of trade for human consumption . . . within [California]”); 7
C.F.R. §§ 984.4, 984.13, 984.14 (handler includes any person who “put[s] walnuts . . . in the
current of commerce within [California]”); 7 C.F.R. §§ 993.4, 993.13, 993.14 (handler includes
any person who “place[s] prunes in the current of the commerce within [California]”). The
definition of a raisin handler, at least on its face, covers interstate efforts by producers to market
their crops. 7 C.F.R. §§ 989.4, 989.15 (handler includes “any person who places . . . raisins in
the current of commerce from within [California] to any point outside thereof”) (emphasis
added). Plaintiffs’ complaint avers that the raisin marketing order, in practice, regulates even
purely intrastate activity. See Compl. ¶¶ 46-47; Pls.’ Sur-Reply Br. Opposing Def.’s Mot. to
Dismiss ¶ 5.

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independent sources, such as state statutes or common law, define the scope of property rights for
Takings Clause purposes. Lucas v. South Carolina Coastal Council, 505 U.S. 1003, 1030
(1992). Based on these principles, in a takings case, a court must first establish whether a
plaintiff holds a property interest for purposes of the Fifth Amendment and then, if such a
property interest exists, determine whether a taking occurred. See Members of Peanut Quota
Holders Ass’n v. United States, 421 F.3d 1323, 1330 (Fed. Cir. 2005).

        Physical takings are compensable, see Loretto v. Teleprompter Manhattan CATV Corp.,
458 U.S. 419, 427 (1982), while regulatory takings may or may not be compensable depending
upon the circumstances. See Pennsylvania Coal Co. v. Mahon, 260 U.S. 393, 415 (1922) (“The
general rule at least is, that while property may be regulated to a certain extent, if regulation goes
too far it will be recognized as a taking.”). For an alleged regulatory taking, the court must make
an “essentially ad hoc, factual inquir[y]” guided by three factors – (1) the character of the
governmental action, (2) the economic impact of the action, and (3) the degree of interference
with the reasonable, investment-backed expectations of the property owner. Penn Cent. Transp.
Co. v. City of New York, 438 U.S. 104, 124-28 (1978); see also Tahoe-Sierra Pres. Council v.
Tahoe Reg’l Planning Agency, 535 U.S. 302, 325-328 (2002); Palazzolo v. Rhode Island, 533
U.S. 606, 634 (2001) (O’Connor, J., concurring).

                           2. Plaintiffs’ property interest in their raisins.

        Plaintiffs contend that this is a physical, not a regulatory, takings case, primarily because
the raisin producers must give up title to the reserve raisins to the RAC in connection with the
producers’ sale of free-tonnage raisins to handlers. See Pls. Opp. to Def.’s Mot. to Dismiss
(“Pls.’ Opp.”) at 5-8. The government resists any finding of a taking of a property interest,
contending that plaintiffs’ participation in the raisin production business is purely voluntary, as is
their marketing of raisins. Def.’s Reply at 2. As the government would have it, “the reserve pool
mechanism [established by the raisin marketing order] is the price of entering that market.” Id.

        Plaintiffs claim that the raisin marketing order leaves raisin growers in an untenable
position – they must subject themselves to an involuntary transfer of a portion of the raisins they
grow, let their raisins rot in their fields, or eat all of their raisins. Compl. ¶¶ 46-47; Pls.’ Sur-
Reply Br. Opposing Def.’s Mot. to Dismiss ¶ 5. Plaintiffs also complain that their equity interest
in the net proceeds from the “reserve tonnage” raisins has become worthless for practical
purposes. Compl. ¶ 45.

        The government stresses that plaintiffs do not and cannot allege that the government has
entered their property and seized the raisins, that plaintiffs are forced to introduce their raisins
into interstate commerce, or that the marketing order forces plaintiffs to sell their raisins to
handlers. Def.’s Mot. to Dismiss at 8. Citing Wallace v. Hudson-Duncan Co., 98 F.2d 985 (9th
Cir. 1938), the government also asserts that Congress has the power under the Commerce Clause
to “destroy” an entire industry without running afoul of the Fifth Amendment’s Takings Clause,



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regardless of whether the regulated product is raisins or contraband. See Hr’g Tr. 8:22 to 9:2;
13:15-21; 15:1-9 (Nov. 21, 2006).14

         Here, under California law, plaintiffs unquestionably had title to their raisins grown in
their fields. See Cal. Rev. & Tax Code § 6016 (“‘Tangible personal property’ means personal
property which may be seen, weighed, measured, felt, or touched, or which is in any other
manner perceptible to the senses.”).15 Upon sale and transfer of the raisins to a handler, the
producers acquired in exchange personal property consisting of cash (for the “free tonnage”
raisins) and an equitable interest in the net proceeds of the “reserve tonnage” raisins. Plaintiff
producers thus had a property interest in the raisins, and they retained a property interest in the
proceeds from the raisins. The real question is whether their transactions with handlers resulted
in a “physical” taking.

        Plaintiffs argue that the transfer of reserve-tonnage raisins in connection with the sale of
free-tonnage raisins to the handlers was involuntary – that once plaintiffs decided to grow raisins,
there was no escape from the raisin marketing order, plaintiffs had no ability to opt out, and the
result was a per se taking. See Pls.’ Sur-Reply Br. Opposing Def.’s Mot. to Dismiss ¶ 5. This
contention is unavailing. Although the RAC gains title to some of the raisins that plaintiffs
grow, the transfer does not have the same consequences as, for example, entry by governmental


       14
           In this respect, the government overstates the holding in Wallace. In Wallace, the
majority opinion for a panel that divided 2 to 1, stated that “even if the [walnut packer] were able
to show (which it has not done) that the only alternative to making delivery to the Control Board
of surplus [i.e., reserve] walnuts . . . would be to go out of business,” case law would support
upholding the walnut marketing order. Wallace, 98 F.2d at 990. Putting aside that the
hypothetical is dictum, the cases the court cited in support of this proposition, see id. (citing
Montana Timber Co. v. Washington, 243 U.S. 219 (1917); Noble State Bank v. Haskell, 219 U.S.
104 (1911)), did not confirm that destruction of an entire industry was permissible under the
Commerce Clause without implicating the Fifth Amendment’s Due Process or Takings Clauses.
Rather, the cited cases upheld regulatory schemes, imposed respectively by the states of
Washington and Oklahoma, in which individual participants were required to contribute to a pool
even though any distributions from the pool might not fully compensate them for their original
contributions. See id. Although the court indicated that the plaintiff in Wallace had the option of
avoiding the walnut regulations altogether by “retirement from the business,” the facts of the case
did not present the question whether the federal government had power to destroy an entire
industry without implicating the Takings or Due Process Clauses. See 98 F.2d at 990-91. In any
event, action taken in reliance upon the Commerce Clause manifestly is not immune from takings
challenges. Kaiser, 444 U.S. at 172; Yancey, 915 F.2d at 1540.
        15
           This definition of “tangible personal property” applies for tax purposes, not for
California law generally, see Filmservice Labs., Inc. v. Harvey Bernhard Enters., Inc., 208 Cal.
App. 3d 1297, 1305 (1989), but the definition nonetheless accords with common-law usage
relating to goods, products, and agricultural commodities. See Cal. Com. Code § 2105(1)
(definition of “goods”).

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officials upon their land for purposes of confiscating their raisins would have. There is no
physical invasion of property, see Loretto, 458 U.S. at 421 (cable television company’s
installation of its cable facilities on plaintiff’s property); Pewee Coal, 341 U.S. at 115-16 (federal
occupation of plaintiff’s coal mine), nor is there any “direct appropriation of property.” Carruth
v. United States, 627 F.2d 1068, 1081 (Ct. Cl. 1980) (addressing peanut marketing regulations).
Instead, the government is the recipient of a portion of the raisins that plaintiffs shipped to
handlers subject to the marketing order. See Carruth, 627 at 1081; Wallace, 98 F.2d at 989-90
(upholding walnut marketing regulations). In essence, plaintiffs are paying an admissions fee or
a toll – admittedly a steep one – for marketing raisins. The government does not force plaintiffs
to grow raisins or to market the raisins; rather, it directs that if they grow and market raisins, then
passing title to their “reserve tonnage” raisins to the RAC is their admission ticket. See Wallace,
98 F.2d at 989 (“The [marketing] [o]rder contains no absolute requirement of the delivery of
walnuts to the Control Board. The requirement is a conditional one.”)16

        In the circumstances at hand, if plaintiffs have a takings claim, it would relate to their
property interest, equitable in nature, in the net proceeds from the disposition of the “reserve
tonnage” raisins. 7 U.S.C. § 608c(6)(E); 7 C.F.R. § 989.66(h). In this case, however, plaintiffs
have put forward no explicit claim as to this property interest, and the court will not consider that
such a claim has been made by implication from plaintiffs’ contention that their equitable interest
has in recent years proven to be worthless or nearly so. Among other things, such a claim would
have to be limned with particularity, and there appear to be at least four conceptually possible
avenues for plaintiffs to pursue vindication of their property rights in the equity pool.17




       16
          However harsh the consequences of the raisin marketing order, the consequences
attendant to marketing raisins were known in advance. Although the transfer of title to the
reserve raisins to the RAC cannot be considered as “voluntary” in the sense that it was a desired
outcome of intended action, neither was it an unexpected result of such action. See Carruth, 627
F.2d at 1081 (peanut regulations); Wallace, 98 F.2d at 989-90 (walnut regulations); cf. Lucas,
505 U.S. at 1027-1028 (“[I]n the case of personal property, by reason of the State's traditionally
high degree of control over commercial dealings, [the property owner] ought to be aware of the
possibility that new regulation might even render his property economically worthless (at least if
the property’s only economically productive use is sale or manufacture for sale).”); Norman v.
United States, 429 F.3d 1081, 1089 (Fed. Cir. 2005) (rejecting plaintiffs’ takings challenge where
plaintiffs “did transfer title in the wetland acreage . . . , [but] the record is clear that the title
transfer was voluntary”).
       17
         Because the “free” and “reserve” percentages vary from crop year to crop year, see
Compl. ¶ 34, and in some years there may be no reserve at all, plaintiffs would have difficulty
posing generic, facial claims about their equitable interest in the reserve pool. See, e.g., id. ¶ 34.6
(no reserve for crop year 2004-05).


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       First, plaintiffs could make a regulatory takings claim, arguing that the RAC, by returning
only meager pool proceeds to plaintiffs, effected a taking. See Cienega Gardens v. United States,
331 F.3d 1319, 1330-31 (Fed. Cir. 2003). Instead, plaintiffs here claimed a taking of their
property interest in raisins they had already exchanged for cash and equity interests in the reserve
pool. Compl. ¶¶ 46-47, 51.

         Second, plaintiffs might petition the Secretary of Agriculture for an administrative
remedy. As producers, plaintiffs are specifically excluded from the Agricultural Marketing Act’s
scope, 7 U.S.C. § 608c(13)(B), and administrative remedies are limited to handlers. 7 U.S.C.
§ 608c(15). Plaintiffs claim, Hr’g Tr. 64: 7-14 (Nov. 21, 2006), and the government concedes,
Def.’s Resp. to Pls.’ Post-argument Submissions of Additional Authorities at the Court’s Request
at 1, that producers have no remedy under the Agricultural Marketing Act. In administrative
proceedings, the Secretary has adhered to this interpretation of the statute. See, e.g., In re Kent
Cheese Co., 43 Agric. Dec. 34, 36 (1984) (denying standing to petitioner who did not allege he
was a handler under the regulatory definition); In re M&R Tomato Distribs., Inc., 41 Agric. Dec.
33, 33 (1982) (same). Nonetheless, if plaintiffs themselves packaged their raisins or introduced
them into interstate commerce, they would be deemed handlers, see 7 C.F.R. §§ 989.14, 989.15,
and would then have an administrative remedy. 7 U.S.C. § 608c(15).

        Third, plaintiffs could file suit in federal district court, alleging that the Secretary or the
RAC has violated the Agricultural Marketing Act, the raisin marketing order, or the associated
regulations. As producers, plaintiffs might qualify for the narrow exception to the general rule
that handlers must exhaust their administrative remedies under the Agricultural Marketing Act.
See Stark v. Wickard, 321 U.S. 288, 309 (1944). As the Supreme Court explained:

        When . . . definite personal rights are created by federal statute, . . . the silence of
        Congress as to judicial review is, at any rate in the absence of an administrative
        remedy, not to be construed as a denial of authority to the aggrieved person to
        seek appropriate relief in the federal courts in the exercise of their general
        jurisdiction.

Stark, 321 U.S. at 309 (emphasis added). Given the specific “personal right” to a proportional
share of the reserve pool net proceeds, 7 C.F.R. § 989.66(h), and the circumstance that an
administrative remedy is limited to handlers, 7 U.S.C. § 608c(15), plaintiffs might sue in federal
district court without first seeking an administrative remedy. See Stark, 321 U.S. at 311; Edaleen
Dairy, 467 F.3d at 782-83. Unlike the plaintiffs in Lion Raisins III, 416 F.3d at 1369-70,
however, plaintiffs in this case do not contend that the government has violated the Agricultural
Marketing Act or the raisin marketing order, see Compl. ¶¶ 4, 48-51, but rather, they claim that
the government’s application of the statute and the marketing order has taken their “reserve
tonnage” raisins without just compensation. Id. ¶¶ 46-47, 51.

       Fourth, plaintiffs might claim they were subject to an illegal exaction. The species of
claim known as an illegal exaction has several variations. A plaintiff may sue for a sum


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“improperly exacted or retained” in violation of the Constitution, a statute, or a regulation.
United States v. Testan, 424 U.S. 392, 401 (1976); see also Eastport S. S. Corp. v. United States,
372 F.2d 1002, 1007 (Ct. Cl. 1967) (overruled on other grounds by Malone v. United States, 849
F.2d 1441, 1444-45 (Fed. Cir. 1988)). Alternatively, a plaintiff may pursue an allegation that a
“particular provision of law relied upon grants [him], expressly or by implication, a right to be
paid a certain sum” and that he has not been so paid. Eastport S. S. Corp, 372 F.2d at 1007; see
also Aerolineos Argentinas v. United States, 77 F.3d 1565, 1573 (Fed. Cir. 1996) (an airline
could seek reimbursement of costs borne by it for transporting aliens who had sought political
asylum in the United States, because the costs were paid “at the direction of the government to
meet a governmental obligation”). An illegal exaction constitutes a compensable violation of the
Fifth Amendment’s Due Process Clause. See Norman, 429 F.3d at 1096.18 To prevail, plaintiffs
would need to demonstrate that the Secretary or the RAC had violated the Agricultural Marketing
Act, the raisin marketing order, or the associated regulations and that the government’s conduct
had a “direct and substantial impact on [them].” Casa de Cambio Comdiv S.A., de C.V. v. United
States, 291 F.3d 1356, 1364 (Fed. Cir. 2002); accord Norman, 429 F.3d at 1096; Ontario Power
Generation, Inc. v. United States, 369 F.3d 1298, 1303 (Fed. Cir. 2004). Plaintiffs have made no
such illegal exaction claims as to their equitable interest in the reserve pool.

        Any of these reserve-pool claims would reach well beyond the scope of the challenged
complaint. In short, the producer plaintiffs have made no claims as to the one affected property
interest that results from their growing and marketing activities – their equity interest in the
reserve pool. Accordingly, they have not stated a claim upon which relief can be granted under
RCFC 12(b)(6).

                                        CONCLUSION

    For the reasons set forth, the government’s motion to dismiss under RCFC 12(b)(6) is
GRANTED. The Clerk shall enter judgment accordingly. No costs.

       It is so ORDERED.


                                                    s/ Charles F. Lettow
                                                    Charles F. Lettow
                                                    Judge




       18
          Although “[t]he Court of Federal Claims ordinarily lacks jurisdiction over due process
claims under the Tucker Act, 28 U.S.C. § 1491, . . . [it] has been held to have jurisdiction over
illegal exaction claims ‘when the exaction is based upon an asserted statutory power.’” Norman,
429 F.3d at 1095 (quoting Aerolineas Argentinas, 77 F.3d at 1573, and citing Eastport S.S.
Corp., 372 F.2d at 1008).

                                               15
